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                    UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA

v.                                         Crim. Action No. 1:21CR287

KEVIN SEEFRIED,

                    Defendant.



                   SUPPLEMENT TO SENTENCING MEMORANDUM


      Kevin Seefried respectfully submits this supplement to his Memorandum in

aid of Sentencing, ECF. No. 136. (Def. Memo).

      In their respective memoranda, the parties pointed to other sentences imposed

on defendants convicted of 18 U.S.C. §1512(c)(1) and other related counts. The

government justifies its exceptionally harsh request by relying primarily upon a case

where the court erroneously applied enhancements rejected by this Court, under

U.S.S.G. § 2J1.2(b)(1)(B) and 2J1.2(b)(2). See ECF No. 135 at 32-33. The defendant

in that case, Anthony Williams, had 11 prior convictions. But most importantly, Mr.

Williams’s words and actions, both before and after January 6th, made very clear that

his intent was to bring violence to the District. Before January 6th, Mr. Williams

asked others to join him on January 6th to “Hold the Line” and “Storm the Swamp”

for Donald Trump. United States v. Anthony Williams, 21-cr-377, ECF No. 120 at 7-

8. Mr. Williams specifically referenced Democrats “hung for treason” and “hav[ing]

you swing from the end of a rope.” ECF No. 120 at 8. In other words, Mr. Williams
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sentenced was justified because he was promoting a revolution. ECF No. 120 at 8

(“btw we’ll take to war, would probably last 2 weeks). In contrast, Mr. Seefried’s

premediated actions mirrored the hundreds charged with misdemeanors and even

the tens of thousands who remained outside of the Capitol and were not charged. He

did not call for violence or “storming” – he traveled to the District with no intention

of entering the Capitol at all.

      The government also relies upon United States v. Erik Herrerra, 21-cr-619

(BAH), but that defendant is easily distinguishable from Mr. Seefried’s. Mr. Herrera

came for war, dressed in a Kevlar vest and armed with a mask and goggles in

anticipation of tear gas. He went into the Parliamentarian’s office, stole from that

office and while in the Capitol, which he entered twice, he both drank alcohol and

smoked marijuana. ECF No. 75 at 3. Chief Judge Howell specifically noted that Mr.

Herrera’s pre—January 6th communications showed that he was not “caught up in

the moment.” Mr. Herrera also testified at his trial and the Chief Judge remarked

that his testimony was “false.”

      The government’s comparison to Hale-Cusanelli, 21-cr-37 (TNM) is similarly

misplaced. Mr. Hale-Cusanelli was sentenced to 48 months for aggravating factors

that place him in a very different category than Mr. Seefried. He interfered with a

police officer who was trying to arrest a “particularly unruly rioter.” ECF No. 120 at

79. He made “appalling” taunts at a female police officer and his animus towards

“racial and religious minorities was at least in part responsible for [his] desire to

obstruct the certification process,” and even advocated for a civil war to “provide a



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clean slate.” ECF No. 120 at 81. Finally, Mr. Hale-Cusanelli’s sentenced was based

in part upon his “decision to lie on the witness stand.” ECF No. 120 at 84.

      Finally, Secor involved an individual who not only entered the Senate Chamber

but the Senate Floor and sat in the Vice President’s seat. United States v. Christian

Secor, 21-cr-157, ECF No. 56 at 49. Mr. Secor argued with conservatives who

condemned January 6th on social media and destroyed his iPhone in an attempt to

conceal evidence. Mr. Secor was also involved in “pushing officers out of the way who

were blocking a door.” ECF No. 56 at 51.

      The Defense has identified a factually comparable case involving an individual

carrying a large Confederate flag who physically assaulted an officer, who was

engaged in his duties, by pushing his lacrosse stick against his chest. United States

v. David Blair, 21-cr-186 (CRC), ECF No. 55 at 2. What is more, Mr. Blair

“brazenly attempted to start a physical fight with a police officer.” ECF No. 55 at 15.

Although Mr. Blair did not enter the building, he was wearing “tactical” gloves and

carrying a serrated knife and a roll of duct tape. For all of this, Mr. Blair was

sentenced to 5 months of incarceration.

                                    Conclusion

      For these reasons and all those set forth in the Defense Memorandum, Mr.

Seefried respectfully submits that the government’s request for 78 months is

excessive and will undermine rather than meet the goals of sentencing. Instead, a

sentence of no more than twelve months and one day is sufficient but no greater than

necessary in this case.



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                                 Respectfully submitted,




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